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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 21-81425-Civ-MIDDLEBROOKS/Matthewman

  NELSON FERNANDEZ,

         Plaintiff,

  vs.

  ECJ LUXURY COLLECTIONS II, LLC, a Florida
  limited liability company,

        Defendant.
  ______________________________________/


                  NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

         Plaintiff NELSON FERNANDEZ, pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of

  Civil Procedure, hereby voluntarily dismisses Defendant ECJ LUXURY COLLECTIONS II, LLC

  as to all of his claims in this action with prejudice, with each party to bear his/its own costs and

  attorney’s fees.

         Dated: September 23, 2021.
         Respectfully submitted,

  RODERICK V. HANNAH, ESQ., P.A.                       LAW OFFICE OF PELAYO
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  By____s/ Roderick V. Hannah __                       By ___s/ Pelayo M. Duran ______
        RODERICK V. HANNAH                                   PELAYO M. DURAN
        Fla. Bar No. 435384                                  Fla. Bar No. 014659
